                                               Entered on Docket
                                               January 04, 2021
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA


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                                             U.S. Bankruptcy Judge
  6 Attorneys for Debtor
    Munchery, Inc.
  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                NORTHERN DISTRICT OF CALIFORNIA
 10
                                       SAN FRANCISCO DIVISION
 11
      In re                                             Case No. 19-30232 HLB
 12
      MUNCHERY, INC.                                    Chapter 11
 13
              Debtor.                                   FINAL DECREE
 14

 15

 16           Having considered the Debtor’s Application for Final Decree and good cause appearing:
 17           IT IS ORDERED that the Debtor’s request is granted and the case is hereby closed.
 18                                    **** END OF ORDER ****
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  1 Court Service List

  2 ECF Participants Only

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